   Case: 1:22-cv-03189 Document #: 151 Filed: 01/24/24 Page 1 of 5 PageID #:3655




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


  ANTHONY DALE, BRETT JACKSON,
  JOHNNA FOX, BENJAMIN
  BORROWMAN, ANN LAMBERT,                            Case No. 1:22-cv-03189
  ROBERT ANDERSON, and CHAD
  HOHENBERY on behalf of themselves and              Hon. Thomas M. Durkin
  all others similarly situated,
                                                     Hon. Jeffrey Cole
                     Plaintiffs,

                v.                                   JOINT STATEMENT

  DEUTSCHE TELEKOM AG, and T-
  MOBILE US, INC.,

                     Defendants.



       Pursuant to this Court’s January 18, 2024, Minute Entry (ECF No. 150), Plaintiffs and

Defendant T-Mobile US, Inc. (“T-Mobile” and, together, “the parties”) respectfully submit this

Joint Statement. Because Plaintiffs’ motion to compel seeks materials that contain the

confidential and/or highly confidential information of non-parties, the parties agreed to a briefing

schedule to give those non-parties an opportunity to respond. On December 21, 2023, T-Mobile

sent a notice to those non-parties—Altice USA, Inc. (“Altice”), AT&T Inc. (“AT&T”), Comcast

Corp. (“Comcast”), Deutsche Telekom AG, DISH Network Corp., Google LLC, SoftBank

Group Corp., Verizon Communications, Inc., and the plaintiff States in State of New York v.

Deutsche Telekom AG, Case No. 19-cv-05434 (S.D.N.Y.). The notice advised that Plaintiffs

would move to compel production on January 17, 2024, and that any oppositions will be due on

February 7, 2024, and replies due on February 21, 2024. Since Plaintiffs filed the motion, Altice,

AT&T, Comcast, and the plaintiff States have informed the parties that they do not intend to
     Case: 1:22-cv-03189 Document #: 151 Filed: 01/24/24 Page 2 of 5 PageID #:3656




oppose Plaintiffs’ motion to compel.1



                                                 Respectfully submitted,

    Dated: January 24, 2024                      /s/ Brendan P. Glackin
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  AT&T informed the parties that they do not believe the AT&T documents at issue are relevant to this case, but that
if any other non-party files an opposition implicating “broader issues,” it reserves the right to join that opposition.

                                                         -2-
Case: 1:22-cv-03189 Document #: 151 Filed: 01/24/24 Page 3 of 5 PageID #:3657




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                                     -3-
Case: 1:22-cv-03189 Document #: 151 Filed: 01/24/24 Page 4 of 5 PageID #:3658




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                                     -4-
   Case: 1:22-cv-03189 Document #: 151 Filed: 01/24/24 Page 5 of 5 PageID #:3659




                                CERTIFICATE OF SERVICE

       I, Brendan P. Glackin, an attorney, hereby certify that this Joint Statement was

electronically filed on January 24, 2024, and will be served electronically via the Court’s ECF

Notice system upon the registered parties of record.

                                               Respectfully submitted,

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                                               -5-
